           Case 1:20-cr-00428-ELR-AJB Document 39 Filed 01/29/21 Page 1 of 1

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William H. Thomas Jr.                                                       bill@whthomasfirm.com
Admitted in Georgia
and California (Inactive)


January 29, 2021

Courtroom Deputy
United States District Court
75 Spring Street, S.W.
Atlanta, Georgia 30303

           Re:        United States v. Jim C. Beck, 1:19-CR-184
                      United States v. Tyler Roussell, 1:18-CR-0491
                      United States v. Albert Tindall, 1:20-CR-428
                      United States v. Kevin Clark, 1:20-CR-408
                      United States v. Touray, 1:20-CR-103
                      United States v. Darius Pennington, 1:19-CR-455
                      United States v. Dauda Saibu, 1:20-CR-109

Dear Courtroom Deputy/Clerk of Court:

        This letter is to notify the Court pursuant to LCrR 57.1E(4), NDGa, that I will be out of
the office on the following dates:

                 May 24- May 31, 2021

       I respectfully request that the court not schedule any court appearances in the above-
referenced matters for those dates.

Sincerely,

The W.H. Thomas Firm, LLC


William H. Thomas Jr.
William H. Thomas Jr.
